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   7                        UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
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   9    GARY D. DARSEY                             Case No.
                                                   2:17−cv−07014−FMO−JPR
   10                  Plaintiff(s),

   11         v.                                   ORDER Re: MOTIONS FOR CLASS
        WAG LABS, INC., et al.                     CERTIFICATION
   12
                     Defendant(s).
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   16         A deadline for motion for class certification¹ has been set in the above-

   17    captioned case. Any motion(s) for class certification shall comply with all Federal

   18    Rules of Civil Procedure and Local Rules, as well as this Order. Please be advised

   19    that this Order contains requirements more specific than the Local Rules and
   20    Federal Rules of Civil Procedure.
   21         1. Joint Brief: The parties shall work cooperatively to create a single,

   22    fully integrated joint brief covering each party’s position, in which each
   23    issue (or sub-issue) raised by a party is immediately followed by the opposing
   24    party’s/parties’ response. The joint brief shall set out each issue (or sub-issue),
   25    including legal argument and direct citation to the evidence, followed seriatim
   26    ____________________
   27    ¹ This Order applies to any motion for certification pursuant to the Fair Labor
         Standards Act, 29 U.S.C. §§ 201, et seq. It also applies to any motion for
   28    decertification of a previously certified class.

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        by the response with respect to that issue (or sub-issue), including legal argument
   2    and direct citation to evidence.
   3         2. Citation to Evidence: All citation to evidence in the joint brief shall be
   4    directly to the exhibit and page number(s) of the evidentiary appendix, (see infra

   5    at ¶ 5), or page and line number(s) of a deposition. Parenthetical explanations
   6    are encouraged. The parties shall cite to relevant evidence to support factual
   7    assertions throughout the joint brief. Failure to cite to evidence in support of
   8    a factual assertion may be deemed the party’s admission that the party lacks
   9    evidence of that fact. Evidence not cited by a party in the joint brief may be
   10   deemed admitted to be irrelevant.
   11        3. Unnecessary Sections: The parties need not include a “procedural
   12   history” section, since the court will be familiar with the procedural history. The

   13   court is also familiar with the general standard for class certification, so that need
   14   not be argued. However, if a party believes a specialized standard is applicable,
   15   the party may brief such a standard. If preliminary issues - such as choice of law -
   16   are in dispute, the parties shall brief such issues in accordance with ¶ 1, supra.
   17        4. Page Limitation: Each separately-represented party shall be limited to

   18   twenty-five (25) pages, exclusive of tables of contents and authorities. Repetition

   19   shall be avoided and, as always, brevity is preferred. Leave for additional space

   20   will be given only in extraordinary cases. The excessive use of footnotes in an
   21   attempt to avoid the page limitation shall not be tolerated. All substantive material,
   22   other than brief argument on tangential issues, shall be in the body of the brief.
   23        5. Evidentiary Appendix: The joint brief shall be accompanied by one
   24   separate, tabbed appendix of declarations and written evidence (including

   25   documents, photographs, deposition excerpts, etc.). See Local Rule 7-6.

   26   Declarations shall set out facts that would be admissible in evidence, and shall
   27   not contain argument. See Local Rule 7-7. Depositions, see Local Rule 32-1,
   28   and physical exhibits shall be lodged separately. The evidentiary appendix shall

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        include a table of contents.
   2         If the evidentiary appendix exceeds 50 pages, the evidence must be separately
   3    bound and tabbed and include an index. If such evidence exceeds 300 pages, the
   4    documents shall be placed in three-ring binders, with an index and with each

   5    item of evidence separated by a divider with a tab on the right side. In addition,
   6    counsel shall provide an electronic copy (i.e., cd, dvd, or flash drive) of the
   7    documents in a single, OCR-scanned, .pdf file with each item of evidence separated
   8    by labeled bookmarks. Counsel shall ensure that all documents are legible.
   9         6. Evidentiary Objections: All necessary evidentiary objections shall be made
   10   in the relevant section(s) of the joint brief.
   11        7. Schedule for Preparation and Filing of Joint Brief: The briefing schedule
   12   for the joint brief shall be as follows:

   13             A. Meet and Confer: In order for a motion for class certification to
   14        be filed in a timely manner, the meet and confer must take place no later
   15        than thirty-five (35) days before the deadline for class certification motions
   16        set forth in the Court’s Case Management and Scheduling Order. It shall
   17        be the responsibility of counsel for the moving party to arrange for this

   18        conference. Counsel for the parties shall meet and confer in person at an

   19        agreed-upon location within the Central District of California to narrow

   20        and crystallize the issues to be argued in the class certification motion.
   21        The parties shall discuss each issue to be raised in the motion, as well as
   22        the law and evidence relevant to that issue, so that the parties’ briefing
   23        reflects that they are fully cognizant of the other side’s position(s). If the
   24        briefing reveals that the parties are not on the same page with respect to

   25        the issues and position(s) presented, the motion shall be stricken.

   26             B. No later than seven (7) days after the meet and confer, the moving
   27        party shall personally deliver or e-mail to the opposing party an electronic
   28        copy of the moving party’s portion of the joint brief, together with the

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             moving party’s portion of the evidentiary appendix.
   2              C. No later than fourteen (14) days after receiving the moving party’s
   3         papers, the opposing party shall personally deliver or e-mail to the moving
   4         party an electronic copy of the integrated motion, which shall include the

   5         opposing party’s portion of the joint brief, together with the opposing party’s
   6         portion of the evidentiary appendix.
   7              D. No later than two (2) days after receiving the integrated version of
   8         the motion and related papers, the moving party shall finalize it for filing.
   9         The moving party may not make any further revisions to the joint brief other
   10        than finalizing the document for filing. Once finalized, the joint brief shall be
   11        provided to the opposing party’s counsel who shall sign it and return it to the
   12        moving party’s counsel no later than the end of the next business day. The

   13        moving party’s counsel shall sign and electronically file the joint brief, the
   14        evidentiary appendix, and joint appendix of undisputed and disputed facts
   15        no later than one business day after receiving the opposing party’s signed
   16        copy. The joint brief shall be accompanied by a Notice of Motion and
   17        Motion for Class Certification, and shall be calendared pursuant to the

   18        Local Rules.

   19             E. Supplemental Memorandum: After the joint brief is filed, each

   20        party may file a supplemental memorandum of points and authorities no
   21        later than fourteen (14) days prior to the hearing date. The supplemental
   22        memorandum shall not exceed ten (10) pages in length. No other separate
   23        memorandum of points and authorities shall be filed by either party in
   24        connection with the motion for class certification.

   25        8. Failure to Comply with this Order: If it appears from the joint brief

   26   that the parties have not discharged their meet and confer obligations in good
   27   faith, that the parties have not worked to fully integrate the document, or that
   28   the parties have otherwise failed to fully comply with this Order, the motion

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         shall be stricken, and the parties shall be required to repeat the process. If it
   2     appears that one (or more) of the parties is primarily responsible for the failure
   3     to properly file an adequate joint brief, the primarily responsible party or parties
   4     shall be subject to appropriate sanctions.

   5        IT IS SO ORDERED.
   6
        DATED: December 29, 2017                                    /s/
   7                                                       Fernando M. Olguin
                                                        United States District Judge
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